      CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 1 of 8




                    UNTIED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA

BILLY ELMORE,

          Plaintiffs,               Court File No. 21-cv-01061 (NEB/ECW)

vs.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

         Defendants.
BRIAN SUPENIA,

          Plaintiffs,               Court File No. 21-cv-01062 (PJS/ECW)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

         Defendants.
DAVID GAMWELL,

          Plaintiffs,               Court File No. 21-cv-01063 (SRN/KMM)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

          Defendants.
     CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 2 of 8




MARY TROWER,

          Plaintiffs,                   Court File No. 21-cv-01064 (WMW/BRT)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

          Defendants.

MATTHEW McDONALD,

          Plaintiffs,                   Court File No. 21-cv-01065 (MJD/TNL)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

          Defendants.

PAUL KIRK,

                                        Court File No. 21-cv-01066 (PJS/DTS)
SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

             Defendants.




                                    2
      CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 3 of 8




ROBERT RICHMOND,

              Plaintiffs,               Court File No. 21-cv-01067 (NEB/TNL)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

          Defendants.
WILLIAM McDONALD,

              Plaintiffs,               Court File No. 21-cv-01068 (ECT/DTS)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.
MARVIN CATES,

              Plaintiffs,               Court File No. 21-cv-01106 (JRT/KMM)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.




                                    3
      CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 4 of 8




JOAN PILGREEN,

              Plaintiffs,               Court File No. 21-cv-01107 (DWF/HB)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.
MICKEY SELF,

              Plaintiffs,               Court File No. 21-cv-01108 (DSD/KMM)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.
HAROLD WEST,

              Plaintiffs,               Court File No. 21-cv-01109 (DSD/ECW)

v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.




                                    4
      CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 5 of 8




DON FIRMIN,

              Plaintiffs,
                                        Court File No. 21-cv-01110 (JRT/BRT)
v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.
AUDIE GADDIS,

              Plaintiffs,
                                        Court File No. 21-cv-01111 (NEB/DTS)
v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.
BONNIE SMITH,

              Plaintiffs,
                                        Court File No. 21-cv-01112 (JRT/HB)
v.

SYNGENTA CROP PROTECTION,
LLC., SYNGENTA AG, SYNGENTA
SEEDS, LLC, CHEVRON U.S.A., INC.,
and CHEVRON PHILLIPS CHEMICAL
COMPANY LP,

Defendants.




                                    5
          CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 6 of 8




    JOE WILSON,

                  Plaintiffs,
                                                Court File No. 21-cv-01113 (SRN/HB)
    v.

    SYNGENTA CROP PROTECTION,
    LLC., SYNGENTA AG, SYNGENTA
    SEEDS, LLC, CHEVRON U.S.A., INC.,
    and CHEVRON PHILLIPS CHEMICAL
    COMPANY LP,

    Defendants.

          PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
                       CONSOLIDATION OF ACTIONS

         Plaintiffs in the above-captioned matters jointly move the Court for assignment of

these cases to a single judge prior to the JPML hearing in this matter. Plaintiffs and both

Defendants have suggested that the District of Minnesota would be a suitable venue for

the MDL to transfer this complex litigation.1 Reassignment of these cases to a single

judge will allow the parties to present a clearer picture to the JPML because – as this

Court knows – the judicial assignment matters to the JPML. The Panel does not

generally transfer cases to judges that don’t want MDL cases or to judges with no MDL

experience; and it also appears that the JPML increasingly considers diversity in its

decision-making process. Thus, reassigning the cases to one judge now will help

eliminate any uncertainty in the argument for Minnesota before the JPML on May 27,

2021.



1
 Defendants ask for the Eastern District of Missouri; with the District of Minnesota, and
the Northern District of Texas, as alternative acceptable venues.
                                              6
            CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 7 of 8




       To be clear, Plaintiffs are not filing this motion to seek the assignment of any

particular judge; we would support assignment to any of the District’s judges. We ask

only for the appointment of a single judge that is willing to preside over this potential

MDL before May 27, 2021.

                                        BACKGROUND

       The first Paraquat case was filed in this district on April 27, 2021 and assigned to

Judge Doty. Numerous additional cases were subsequently filed and were assigned, in

various order, to Judges Brasel, Davis, Doty, Frank, Nelson, Tunheim, Schiltz, Tostrud,

and Wright. Each of these cases was then tagged into the pending potential matter in

front of the JPML set for a hearing on May 27, 2021.

       On April 29, 2021, Plaintiffs’ counsel filed papers with the JPML in these matters

supporting the creation of an MDL and asking that the cases be transferred to the District

of Minnesota. Similarly, both Defendants (who also filed Responses to the Motion to

Transfer in the JPML on April 29, 2021) did not oppose centralization and agreed that the

United States District Court for the District of Minnesota would be a “suitable forum” for

transfer.

       The Complaints in these matters all identify the same underlying facts relating to

the development, testing, marketing, and disbursement of the herbicides with the same

active ingredient, Paraquat. Plaintiffs all allege contact with Paraquat resulted in serious

physical harm.

                                          ARGUMENT

       Plaintiffs are not seeking the assignment a particular judge. All we seek is the
                                              7
         CASE 0:21-cv-01063-SRN-KMM Doc. 7 Filed 05/07/21 Page 8 of 8




assignment of a single judge who would be willing to take on this large, complex

litigation that likely will span the next 3-5 years or perhaps longer; whether that occur

through an MDL or, should the JPML not consolidate, as coordinated actions in this

District. And we respectfully ask that the reassignment be made before May 27, 2021 so

we can inform the JPML which judicial officer will preside over the cases if they are

consolidated in Minnesota.

 Dated: May 7, 2021                        Respectfully submitted,

                                            s/Daniel E. Gustafson
                                           Daniel E. Gustafson (#202241)
                                           Amanda M. Williams (#341691)
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                                           120 South Sixth Street, Suite 2600
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                                           awilliams@gustafsongluek.com

                                           Attorneys for Plaintiffs




                                             8
